Case 1:19-cr-00018-ABJ Document 136-2 Filed 06/20/19 Page 1 of 1

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US Govt's Entire Russia-DNC
Hacking Narrative Based On
Redacted Draft Of
Crowdstrike Report - True
Pundit

truepundit.com

YD rogerjstonejr « Follow

YW) rogerjstonejr But where is the
@NYTimes? @washingtonpost ?
@WS5J? @CNN ?

#rogerstonedidnothingwrong #maga
#trump

ay mesomorph21 Asleep in a coma; Or
A maybe praying to their overlords in
Congress,

@ thecarolinaman! We all know that the
Washington D.C. establishment
launched an entire hit job on then
candidate Trump by weaponizing the
Department of Justice- FBI- CIA, etc.

-— 6 ML tat aS

Pak LW

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